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14                                 UNITED STATES DISTRICT COURT

15                              NORTHERN DISTRICT OF CALIFORNIA

16
                                                          Misc. Case No. i8-80132-~IISC-JSC
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     EX PARTE APPLICATION OF PALANTIR       )
19   TECHNOLOGIES,INC. FOR ORDER            )
     PURSUANT TO 28 U.S.C. § 1782 TO OBTAIN ) PALANTIR TECHNOLOGIES,INC.'S
20   DISCOVERY FOR USE IN FOREIGN           ) CERTIFICATE OF INTERESTED PERSONS
     PROCEEDINGS                           ) AND ENTITIES AND CORPORATE
21                                            DISCLOSURE STATEMENT

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26                  Pursuant to Civil L.R. 3-15 and Rule 7.1 ofthe Federal Rules of Civil Procedure, the

27   undersigned certifies on behalf ofPalantir Technologies, Inc.("Palantir"), a Delaware corporation,

28   that Palantir does not have a parent corporation; there is no publicly held company that owns 10% or



     CERTIFICATE OF INTERESTED PERSONS AND ENTITIES AND CORPORATE DISCLOSURE STATEMENT- CASE NO.
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 1   more of Palantir's stock; and there are no other persons, associations of persons, firms, partnerships or

 2   corporations, or other entities known to Palantir to have either a financial interest in the subject matter

 3   in controversy or in a party to the proceedings or any other kind of interest that could be substantially

 4   affected by the outcome ofthe proceeding.

 5

 6   DATED: August 10, 2018                        /s/ Christ her A. Stecher
                                                   CHRISTOPHER A. STECHER
 7                                                 KEESAL, YOUNG & LOGAN
 8                                                 TIMOTHY P. HARKNESS (pro hac vice)
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                                                   Pro Hac Vice Applications Forthcoming
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12                                                 Palantir Technologies, Inc.
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     CERTIFICATE OF ]NTERESTED PERSONS AND ENTITIES AND CORPORATE DISCLOSURE STATEMENT -CASE NO.
